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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



RUBY FREEMAN, et al.,

                    Plaintiffs,               Civil Action No. 1: 21-cv-03354 (BAH)

              v.                              Chief Judge Beryl A. Howell

HERRING NETWORKS, INC., et al.,

                    Defendants.




           INDEX OF EXHIBITS TO PLAINTIFFS’ AFFIDAVIT OF PROOF OF
                      SERVICE FOR HERRING NETWORKS


Exhibit             Title


A                   Affidavit of Service on Herring Networks, Inc., d/b/a One American
                    News Network by serving Justine Brooke Murray
B                   Affidavit of Service on Herring Networks, Inc., d/b/a One American
                    News Network by serving Kevin Young, of DCRA
C                   U.S. Postal Service Certified Mail Receipt for Service on Herring
                    Networks, Inc., d/b/a One American News Network
D                   U.S. Postal Service tracking information reflecting delivery to Herring
                    Networks, Inc., d/b/a One American News Network




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